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                       Case 3:24-cv-06271-RFL           Document 1-1   Filed 09/05/24   Page 1 of 2




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           9
                                                UNITED STATES DISTRICT COURT
         10
                                              NORTHERN DISTRICT OF CALIFORNIA
         11
         12       BAASIL KHAN, individually                      Case No.
                  and on behalf of all others similarly
         13
                  situated,                                      CLRA VENUE DECLARATION
         14
                             Plaintiff,
         15
                  v.
         16
         17       BROOKLYN BEDDING LLC,

         18                  Defendant.
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                CLRA Venue Declaration                                                  Case No.
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                     Case 3:24-cv-06271-RFL             Document 1-1      Filed 09/05/24     Page 2 of 2




           1             I, Baasil Khan, declare as follows:
           2             1.      I am a named Plaintiff in this action.
           3             2.      On January 23, 2023, I purchased an RV King Signature Hybrid Mattress from
           4    Defendant’s website, www.brooklynbedding.com, while living in Newark, California.
           5             3.      I understand that, because I purchased the products in Newark, California, the
           6    transaction occurred within the Northern District of California, and therefore, this is a proper place to
           7    bring my California Consumer Legal Remedies Act claim.
           8
           9             I declare under penalty of perjury under the laws of the United States that the foregoing is true
         10     and correct to the best of my knowledge.
         11
         12     Signature:
                                       Baasil Khan
         13
         14     Dated:    8/30/2024

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                CLRA Venue Declaration                               1                      Case No.
